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Practices and model Case Management Plan and Scheduling Order, which are available at
https://nysd.uscourts.gov/hon-analisa-torres. Both the joint letter and the proposed Case
Management Plan and Scheduling Order shall be filed electronically on ECF, with a courtesy copy
of each, clearly marked as such, emailed to chambers (Torres nysdchambers@nysd.uscourts.gov)
in accordance with the Court’s Individual Practices (See Rule I.B.)

       6.     Requests for adjournment of the deadline for the above submissions will be
considered only if made in writing and in accordance with the Court’s Individual Practices (See
Rule I.C).

        7.     The parties are advised that the Court requires pre-motion letters before a motion is
filed (See Rules III.A–C).

        8.      If this case has been settled or otherwise terminated, counsel are required to file a
stipulation of discontinuance, voluntary dismissal, or other proof of termination electronically on
ECF, with a courtesy copy emailed to chambers in accordance with the Court’s Individual
Practices.

       SO ORDERED.

Dated: November 16, 2023
       New York, New York




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